                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

UNITED STATES OF AMERICA,                       )
                                                )
              Plaintiff,                        )
                                                )
v.                                              )      No.:   3:13-CR-45-TAV-CCS-18
                                                )
SHINNA MARIE RUTHERFORD,                        )
                                                )
              Defendant.                        )


                      MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s motions for a sentence

reduction [Doc. 1364; Doc. 1393]. The defendant moves the Court to resentence her

pursuant to 18 U.S.C. § 3582(c)(2) and in accordance with Amendment 782 and

Amendment 788 to the United States Sentencing Guidelines Manual. The government

has responded [Doc. 1395], deferring to the Court’s discretion as to whether, and to what

extent, to grant any such reduction, subject to the limitations of 18 U.S.C. § 3582(c)(2)

and section 1B1.10 of the United States Sentencing Guidelines Manual.

I.      Standard of Review

        “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 3685, 2690 (2011) (internal citation

and quotation marks omitted). One exception is identified in 18 U.S.C. § 3582(c)(2):

        [I]n the case of a defendant who has been sentenced to a term of
        imprisonment based on a sentencing range that has subsequently been



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         lowered by the Sentencing Commission . . . , the court may reduce the term
         of imprisonment, after considering the factors set forth in section 3553(a) to
         the extent that they are applicable, if such a reduction is consistent with
         applicable policy statements issued by the Sentencing Commission.

The United States Supreme Court has interpreted § 3582(c)(2) as setting forth two

requirements for a sentence reduction. First, “the defendant [must] ha[ve] been sentenced

to a term of imprisonment based on a sentencing range that has subsequently been

lowered by the Sentencing Commission[.]” United States v. Riley, 726 F.3d 756, 758

(6th Cir. 2013) (internal quotation marks and citation omitted). Second, “such reduction

[must be] consistent with applicable policy statements issued by the Sentencing

Commission.” Id. (internal quotation marks omitted).

         If the reviewing court determines that the defendant is eligible for a sentence

reduction, “[t]he court may then ‘consider whether the authorized reduction is warranted,

either in whole or in part, according to the factors set forth in § 3553(a).’” United States

v. Thompson, 714 F.3d 946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560

U.S. 817, 826 (2010)). In making this determination, the reviewing court also should

consider the danger to the public created by any reduction in the defendant’s sentence and

may consider the defendant’s post-sentencing conduct.           U.S. Sentencing Guidelines

Manual § 1B1.10 cmt. n.1(B).

II.      Factual Background

         The defendant pleaded guilty to and was convicted of conspiring to manufacture 5

grams or more of methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

841(b)(1)(B) [Doc. 582; 1316].        At the time of sentencing, the defendant was held

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responsible for a marijuana equivalent of 240 kilograms [Doc. 1393 p. 2; Doc. 1395 p. 3].

Given the amount of drugs for which the defendant was held responsible, the defendant’s

base offense level was 26 [Id.].       The defendant received a 3-level reduction for

acceptance of responsibility, resulting in a total offense level of 23 [Id.]. Given the

defendant’s criminal history category of III, the defendant’s guideline range would have

been 57 to 71 months’ imprisonment, but she was subject to a mandatory minimum term

of imprisonment of 120 months [Id.]. Therefore, the defendant’s guideline range was

restricted to the mandatory minimum [Id.].

       Before sentencing, the government moved for a downward departure pursuant to

18 U.S.C. § 3553(e) and section 5K1.1 of the Sentencing Guidelines [Id.]. The Court

granted that motion and sentenced the defendant to 75 months’ imprisonment, which is

38 percent below the defendant’s restricted guideline range [Id.]. According to the

parties, the defendant is presently scheduled for release on August 1, 2019 [Id.].

III.   Analysis

       Amendment 782 to the Guidelines, which became effective on November 1, 2014,

revised the Guidelines applicable to drug-trafficking offenses by reducing by two levels

the offense levels assigned to the drug quantities set forth in section 2D1.1.       U.S.

Sentencing Guidelines Manual App. C, amend. 782.            Amendment 782 also makes

corresponding changes to section 2D1.11. Amendment 788, which became effective on

November 1, 2014, as well, identified Amendment 782 as retroactive. U.S. Sentencing

Guidelines Manual App. C, amend. 788.


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      Section 1B1.10 of the Sentencing Guidelines addresses reductions under §

3582(c)(2):

              In determining whether, and to what extent, a reduction in the
              defendant’s term of imprisonment under 18 U.S.C. §
              3582(c)(2) and this policy statement is warranted, the court
              shall determine the amended guideline range that would have
              been applicable to the defendant if the amendment(s) to the
              guidelines listed in subsection (d) had been in effect at the
              time the defendant was sentenced.

U.S. Sentencing Guidelines Manual § 1B1.10(b). Amendment 782 is listed in subsection

(d). Id. § 1B1.10(d).

      A defendant’s amended guideline range is calculated by using the procedures set

forth in section 1B1.1(a). Id. § 1B1.10 cmt. n.1(A); United States v. Joiner, 727 F.3d

601, 604 (6th Cir. 2013). Accordingly, in calculating a defendant’s amended guideline

range, the reviewing court ordinarily must first substitute the revised base offense level

provided by Amendment 782 and then apply the trumping provisions of sections 5G1.1

and 5G1.2 as appropriate. See Joiner, 727 F.3d at 605 (discussing the procedure for

calculating a defendant’s amended guideline range in light of the revised base offense

levels for crack cocaine offenses provided by Amendment 750).

      Section 5G1.1 provides, in relevant part, that “[w]here the statutorily required

minimum sentence is greater than the maximum of the applicable guideline range, the

statutorily required minimum sentence shall be the guideline sentence.” U.S. Sentencing

Guidelines Manual § 5G1.1(b).      Section 5G1.2 provides, in relevant part, that “the

sentence to be imposed on a count for which the statute (1) specifies a term of

imprisonment to be imposed; and (2) requires that such term of imprisonment be imposed
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to run consecutively to any other term of imprisonment, shall be determined by that

statute and imposed independently.” Id. § 5G1.2(a).

       Therefore, defendants whose sentences were subject to the trumping provisions of

sections 5G1.1 and 5G1.2 ordinarily are not eligible for a sentence reduction as a result of

Amendment 782, because their original sentences were not based on a sentencing range

that has subsequently been lowered by the Sentencing Commission, and a reduction

would not be permitted by the applicable policy statements issued by the Sentencing

Commission. See Joiner, 727 F.3d at 604–09 (finding that a defendant was not eligible

for a sentence reduction under Amendment 750); United States v. Williams, 512 F. App’x

594, 597–600 (6th Cir. 2013) (same).

       Section 1B1.10(c) alters this analysis for defendants who have received a

departure below a mandatory minimum sentence for their substantial assistance to the

government. See 18 U.S.C. § 3553(e) (providing that a departure below a mandatory

minimum sentence for a defendant’s substantial assistance “shall be imposed in

accordance with the guidelines and policy statements issued by the Sentencing

Commission pursuant to section 994 of title 28, United States Code”). For this class of

defendants, “the amended guideline range shall be determined without regard to the

operation of § 5G1.1 (Sentencing on a Single Count of Conviction) and § 5G1.2

(Sentencing on Multiple Counts of Conviction).” U.S. Sentencing Guidelines Manual §

1B1.10(c). Here, the defendant is among the class of defendants covered by section




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1B1.10(c).   Therefore, as the government concedes, she is eligible for a sentence

reduction pursuant to § 3582(c)(2).

       Because the trumping provisions of sections 5G1.1 and 5G1.2 no longer apply, the

Court calculates the defendant’s amended guideline range by first substituting the

appropriate revised base offense level provided by Amendment 782, and then making any

adjustments in accordance with the defendant’s original sentence. Id. § 1B1.10(b)(1)

(providing that “the court shall substitute only the amendments listed in subsection (d) for

the corresponding guideline provisions that were applied when the defendant was

sentenced and shall leave all other guideline application decisions unaffected”).

Therefore, the defendant’s revised base offense level is 24, and her new total offense

level is 21. A total offense level of 21 and a criminal history category of III results in an

amended guideline range of 46 to 57 months’ imprisonment. Id. § 5A.

       The Court may depart downward from this amended range in an amount

comparable to the downward departure that the Court originally granted for the

defendant’s substantial assistance.     Id. § 1B1.10(b)(2)(B).      Because the defendant

originally received a 38 percent departure from the restricted guideline range, she is

eligible for a reduced sentence of 29 months’ imprisonment.

       In determining the appropriate amount by which to reduce the defendant’s

sentence, the Court considers the sentencing factors set forth in 18 U.S.C. § 3553(a), the

nature and seriousness of the danger to any person or the community that may be posed

by a reduction in the defendant’s term of imprisonment, and the defendant’s post-


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sentencing conduct.      18 U.S.C. § 3582(c)(2); U.S. Sentencing Guidelines Manual §

1B1.10 cmt. n.1(B).

       The Court finds as an initial matter that the § 3553(a) factors that applied at the

time of the defendant’s sentencing also apply today. In regard to these factors and in the

context of the instant motion, the Court considers the nature and circumstances of the

defendant’s        offense—conspiracy    to   manufacture     5    grams     or   more     of

methamphetamine—and her role in the offense, along with her history and

characteristics.

       The Court also considers the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, to provide just punishment for

the offense, to afford adequate deterrence, to protect the public from further crimes of the

defendant, and to provide the defendant with needed education and training, medical

care, or other correctional treatment.1 Further, the Court considers the kinds of sentences

available and the sentencing range, the need to avoid unwarranted disparities, and the

need to provide restitution to any victims. See 18 U.S.C. § 3553(a).

       Regarding the defendant’s post-sentencing conduct and the risk of danger to the

community resulting from a sentence reduction, the Court notes that the defendant has

not incurred any disciplinary sanctions while incarcerated, and the government states that

it has no specific information to present in opposition to a sentence reduction [Doc. 1395

p. 4]. Thus, the defendant’s post-sentencing conduct has been acceptable, and it does not
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         The Court, however, is not intending to, and is not, imposing or lengthening the
defendant’s sentence to enable the defendant to complete a treatment program or otherwise
promote rehabilitation. See generally Tapia v. United States, 131 S. Ct. 2382 (2011).
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appear that a sentence reduction will create an inordinate risk of danger to any person or

the community.

       After considering section 1B1.10 and the relevant § 3553(a) factors, the Court

finds that a reduction to a term of 29 months’ imprisonment is appropriate. In making

this determination, the Court is particularly influenced by the changes in base offense

levels resulting from Amendment 782. The Court has also taken into consideration the

risk that the defendant poses to public safety, the nature and circumstances of the

defendant’s offense, the defendant’s personal history and characteristics, and the

defendant’s post-sentencing conduct.

III.   Conclusion

       For these reasons, the defendant’s motions [Doc. 1364; Doc. 1393] are

GRANTED, and the defendant’s sentence is REDUCED to 29 months’ imprisonment.

If this sentence is less than the amount of time the defendant has already served, the

sentence shall be reduced to a “time served” sentence. U.S. Sentencing Guidelines

Manual § 1B1.10(b)(2)(C).

       Except as otherwise provided in this order, all provisions of the judgment dated

July 28, 2014 [Doc. 1316], shall remain in effect. The effective date of this order is

November 2, 2015. U.S. Sentencing Guidelines Manual § 1B1.10(e)(1).

       IT IS SO ORDERED.



                                  s/ Thomas A. Varlan
                                  CHIEF UNITED STATES DISTRICT JUDGE

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